             1
                     ARMAND J. KORNFELD (WSBA #17214)                       HON. WHITMAN L. HOLT
             2       THOMAS A. BUFORD (WSBA #52969)
                     RICHARD B. KEETON (WSBA #51537)
             3       BUSH KORNFELD LLP
                     601 Union Street, Suite 5000
             4       Seattle, WA 98101
                     Tel.: (206) 292-2110
             5       Facsimile: (206) 292-2104
                     Emails: jkornfeld@bskd.com,
             6       tbuford@bskd.com, and rkeeton@bskd.com
             7       RICHARD M. PACHULSKI (CA Bar #90073)*
                     JEFFREY W. DULBERG (CA Bar #181200)*
             8       JASON H. ROSELL (CA Bar #269126)*
                     PACHULSKI STANG ZIEHL & JONES LLP
             9       10100 Santa Monica Blvd., 13th Floor
                     Los Angeles, CA 90067-4003
         10          Tel: (310) 277-6910
                     Facsimile: (310) 201-0760
         11          Emails: rpachulski@pszjlaw.com,
                     jdulberg@pszjlaw.com, and
         12          jrosell@pszjlaw.com
         13          *Admitted Pro Hac Vice
         14          Proposed Attorneys for the Plaintiffs and
                     Chapter 11Debtors and Debtors in Possession
         15                                  UNITED STATES BANKRUPTCY COURT
         16
                                             EASTERN DISTRICT OF WASHINGTON

         17
                 In re                                            Chapter 11

         18      EASTERDAY RANCHES, INC., et al.                  Lead Case No. 21-00141-11
                                                                  Jointly Administered
         19                                        Debtors.1
         20      EASTERDAY RANCHES, INC.,                         Adv. Proc. No. 21-80044-11
         21                                        Plaintiff,     STIPULATION AMONG DEBTORS
         22
                          vs.                                     AND RABO AGRIFINANACE LLC
                                                                  REGARDING WITHDRAWAL OF
         23
                 RABO AGRIFINANCE, LLC,                           ADVERSARY PROCEEDING
                                                                  WITHOUT PREJUDICE
         24
                                                   Defendant.

         25      1
                  The Debtors along with their case numbers are as follows: Easterday Ranches, Inc., (21-
         26      00141) and Easterday Farms, a Washington general partnership (21-00176).
                 DOCS_NY:43888.3 20375/003
         27          STIPULATION AMONG DEBTORS                    P ACHULSKI S TANG                    B USH K ORNFELD           LLP

         28
                     AND RABO AGRIFINANACE LLC                    Z IEHL & J ONES LLP                          LAW OFFICES
                                                                                                          601 Union St., Suite 5000
                     REGARDING WITHDRAWAL OF                     10100 Santa Monica Blvd., 13th Flr.
                                                                    Los Angeles, CA 90067-4003
                                                                                                       Seattle, Washington 98101-2373
                     ADVERSARY PROCEEDING                            Telephone (310) 277-6910
                                                                                                          Telephone (206) 292-2110
                                                                                                          Facsimile (206) 292-2104
                     WITHOUT PREJUDICE – Page 1                       Facsimile (310) 201-0760
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                 21-80044-WLH          Doc 25   Filed 08/20/21   Entered 08/20/21 14:05:55              Pg 1 of 6
             1           WHEREAS, on February 1, 2021, Easterday Ranches, Inc. (“Ranches”) filed a
             2
                 voluntary petition for relief under chapter 11 of Title 11 of the United States Code (the
             3

             4   “Bankruptcy Code”) before the United States Bankruptcy Court for the Eastern District

             5   of Washington, Yakima Division (the “Bankruptcy Court”).
             6
                         WHEREAS, on February 8, 2021, Easterday Farms, a Washington general
             7

             8   partnership (“Farms” and together with Ranches, the “Debtors”) filed a voluntary

             9   petition for relief under chapter 11 of the Bankruptcy Code.
         10
                         WHEREAS, Farms, Ranches, Cody Easterday (“CE”), Karen Easterday (“KE”)
         11

         12      (in her individual capacity and as the representative of Gale Easterday,2), and Debby
         13      Easterday (“DE” and together with CE and KE, the “Easterday Partners”), entered into
         14
                 that certain Stipulation By and Between Debtors and Non-Debtor Sellers Regarding
         15

         16      Cooperation with Respect to the Sale of Debtor and Non-Debtor Assets (the
         17      “Cooperation Agreement”).
         18
                         WHEREAS, on April 28, 2021, the Bankruptcy Court entered an order
         19

         20      approving the Debtors’ entry into the Cooperation Agreement [Docket No. 655].
         21              WHEREAS, pursuant to the terms of the Cooperation Agreement, among other
         22
                 things, the Easterday Partners are required to cooperate with the Debtors in connection
         23

         24      with the sale of certain real property, and the Debtors are required to enter into a
         25

         26      2
                     Gale Easterday passed away on December 10, 2020.
                 DOCS_NY:43888.3 20375/003
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                                                                    Los Angeles, CA 90067-4003
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                                                                                                          Facsimile (206) 292-2104
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                 21-80044-WLH          Doc 25   Filed 08/20/21   Entered 08/20/21 14:05:55              Pg 2 of 6
             1   stipulation or otherwise obtain an injunction with respect to any party taking action to
             2
                 enforce rights or remedies against property or assets of the Easterday Partners.
             3

             4   Moreover, pursuant to the Cooperation Agreement, the Debtors and Easterday Partners

             5   are required to negotiate in good faith an allocation protocol in connection with the
             6
                 proceeds from the sale of real property
             7

             8           WHEREAS, Rabo AgriFinance, LLC (“Rabo”) asserts interests in the property

             9   or assets of the Easterday Partners.
         10
                         WHEREAS, Rabo filed that certain Complaint for Judicial Foreclosure of
         11

         12      Mortgages, and for Money Judgment Based on RCW 25.05.125 (the “Rabo 3E
         13      Complaint”) in a proceeding captioned Rabo Agrifinance LLC, Plaintiff v. 3E
         14
                 Properties et. al. Defendants, Case No. 21-cv- 05066, pending in the District Court for
         15

         16      the Eastern District of Washington, Richland (the “Rabo 3E Proceeding”).
         17              WHEREAS, the Rabo Complaint contains a “First Cause of Action” against
         18
                 Karen Easterday,3 Cody Easterday and Debby Easterday (together the “Easterday
         19

         20      Individuals”), and a “Second Cause of Action” against the Easterday Individuals, Jody
         21      Easterday and 3E Properties.
         22

         23

         24

         25
                 3
                  Karen Easterday is named individually and in her capacity as representative of the
         26      estate of Gale Easterday.
                 DOCS_NY:43888.3 20375/003
         27          STIPULATION AMONG DEBTORS                    P ACHULSKI S TANG                    B USH K ORNFELD           LLP

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                     AND RABO AGRIFINANACE LLC                    Z IEHL & J ONES LLP                          LAW OFFICES
                                                                                                          601 Union St., Suite 5000
                     REGARDING WITHDRAWAL OF                     10100 Santa Monica Blvd., 13th Flr.
                                                                    Los Angeles, CA 90067-4003
                                                                                                       Seattle, Washington 98101-2373
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                                                                                                          Telephone (206) 292-2110
                                                                                                          Facsimile (206) 292-2104
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             1           WHEREAS, on June 28, 2021, Debtors filed a complaint initiating this adversary
             2
                 proceeding (the “Rabo Adversary”) against Rabo seeking, among other things, to enjoin
             3

             4   any proceedings by Rabo, including in connection with the Rabo 3E Proceeding, to

             5   enforce or collect any obligations against the Easterday Partners.
             6
                         WHEREAS, contemporaneously with the filing of the Complaint, the Debtors
             7

             8   filed their Motion for a Temporary Restraining Order and Preliminary Injunction

             9   [Docket No. 2] (the “TRO Motion”), together with a Memorandum of Law [Docket No.
         10
                 3] and Declaration of T. Scott Avila [Docket No. 4] in support of the TRO Motion.
         11

         12              WHEREAS, in consideration for Rabo agreeing to stay the proceedings in the
         13      Rabo 3E Complaint on the terms described below and entering into this Stipulation, the
         14
                 Debtors are willing to dismiss the Rabo Adversary without prejudice and to withdraw
         15

         16      the TRO Motion.
         17
                         Based on the foregoing recitals, the Parties hereby stipulate and agree as
         18

         19
                 follows:
                       1.         Stay of Proceedings. Rabo agrees that it will stay the Rabo 3E Proceeding,
         20

         21      including staying any deadline of any defendant pursuant to the Rabo 3E Complaint to

         22      answer or otherwise respond to the Rabo 3E Complaint until the earlier of (i) December
         23
                 31, 2021, or the (ii) Effective Date (as defined in the Plan) of a plan of liquidation
         24

         25      confirmed in the Debtors’ cases (the “Plan”).
         26
                 DOCS_NY:43888.3 20375/003
         27       STIPULATION AMONG DEBTORS                       P ACHULSKI S TANG                    B USH K ORNFELD           LLP

         28
                  AND RABO AGRIFINANACE LLC                       Z IEHL & J ONES LLP                          LAW OFFICES
                                                                                                          601 Union St., Suite 5000
                  REGARDING WITHDRAWAL OF                        10100 Santa Monica Blvd., 13th Flr.
                                                                    Los Angeles, CA 90067-4003
                                                                                                       Seattle, Washington 98101-2373
                  ADVERSARY PROCEEDING                               Telephone (310) 277-6910
                                                                                                          Telephone (206) 292-2110
                                                                                                          Facsimile (206) 292-2104
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             1           2.       Amendment to Rabo 3E Complaint and Release of Certain Liens. Within
             2
                 10 days after entry of an order approving this Stipulation, Rabo agrees that it will amend
             3

             4   the Rabo 3E Complaint to eliminate the causes of action as they relate to the foreclosure

             5   of the 2018 Mortgage and Parcel B of the 2009 Mortgage (each as defined in the Rabo
             6
                 3E Complaint). Within a reasonable time following entry of an order approving this
             7

             8   Stipulation, Rabo shall file a release of the 2018 Mortgage and a partial release of the

             9   2009 Mortgage as to Parcel B only.
         10
                         3.       Withdrawal of Rabo Adversary Proceeding. Promptly following entry of
         11

         12      an order approving this Stipulation, the Debtors shall dismiss the Rabo Adversary and
         13      withdraw the TRO Motion, both without prejudice.
         14
                         4.       Binding Effect. This Stipulation shall be binding upon the Parties hereto,
         15

         16      their successors, assigns, affiliates, officers, directors, shareholders, partners, investors,
         17      members, employees, agents, and professionals, including any chapter 7 trustee
         18
                 appointed in the Debtors’ cases.
         19

         20              5.       Jurisdiction. The Bankruptcy Court shall retain sole and exclusive
         21      jurisdiction to hear and determine all matters arising from or relating to the
         22
                 interpretation and/or enforcement of this Consent, provided, however, that the District
         23

         24      Court shall have jurisdiction over any motion filed pursuant to 28 U.S.C. § 157.
         25

         26
                 DOCS_NY:43888.3 20375/003
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                                                                                                          601 Union St., Suite 5000
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                                                                                                          Telephone (206) 292-2110
                                                                                                          Facsimile (206) 292-2104
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             2           IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD
             3

             4
                 /s/ THOMAS A. BUFORD
             5   THOMAS A. BUFORD (WSBA #52969)
                 BUSH KORNFELD LLP
             6
                 RICHARD M. PACHULSKI (admitted pro hac vice)
             7   JEFFREY W. DULBERG (admitted pro hac vice)
                 JASON H. ROSELL (admitted pro hac vice)
             8   PACHULSKI STANG ZIEHL & JONES LLP
             9   Attorneys for Plaintiffs and Debtors and Debtors in Possession
         10
                 Stipulated by:
         11
                 /s/ MICHAEL R. JOHNSON
         12      DAVID H. LEIGH (WSBA #40031)
                 MICHAEL R. JOHNSON (admitted pro hac vice)
         13      RAY QUINNEY & NEBEKER P.C.
         14      Attorneys for Defendant Rabo Agrifinance LLC
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